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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

       v.
                                                          CASE NO. 22-CR-19 (RCL)
GREGORY RICHARD PURDY, JR.,
ROBERT TURNER,                                           CERTIFICATE OF SERVICE
MATTHEW PURDY,

                      Defendants.

       I hereby certify that the Government produced case-specific discovery, along with access

to Global Discovery Production Numbers 1 through 29, on September 26, 2023, to the following:

       Melissa Isaak
       melissa@protectingmen.com

       Counsel for Defendants Gregory Purdy, Jr., Matthew Purdy and Robert Turner

       This additional discovery and global discovery was produced to Ms. Isaak through USAfx.

Attached is the correspondence and list of case-specific documents provided on this date to Ms.

Isaak, describing the discovery provided on this date. The undersigned counsel also provided Ms.

Isaak with a copy of the Court’s Protective Order, ECF No. 21, and a comprehensive letter

describing Global Discovery Production Numbers 1 through 29.

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            D.C. Bar No. 481052

                                            By:    /s/ Lynnett M. Wagner _______
                                                   LYNNETT M. WAGNER
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